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TN Tl-IE UN]TED STATES DIS'I`RICT COUR'I"
FOR TT'TE, EASTERN DISTRICT OF PENNS¥LV/’i-,NIA

 

 

 

T. PETER TAGUE, DC
C.\A. Nl). 08-04943 -RB

O.n_Behalf Of HimsclfAnd All

Othcrs Similarly Situated_.
CLASE§» ACTION

Plaintif]',

V.

AMERILIST_, TNC.
and
RAVl BUCKREDAN, President,

Defcndants.

 

S'I`IPULA! !QN OF DISM]SSAL

Pursuant to cheral Rule of Civil Procedure 41(a)(1), Plaintiff T. Peter Tague, DC, by his
undersigned counsel, and Defen.dams Amerlist, lnc. and Rav'i Buckrednn, individually and as
Presiden.t and Chief'Executive Off`lcer of Amcrilist, lnc.‘ hereby stipulate to the dismissal ojl" this
action_. with prejudice as to the individual claims of T. Peter Tagu_e and without prejudice as to

the claims of the putative class mcmbers, if any.

 

AMER\L|.ST, INC. CALDWELL .\l.AW O_F.FlCE L_LC
RAVl BUCKREDAN 7
)¢M ' XMZ L'CW/
By'. /s/ Ravi Buckredan By: /s/ Ann M. Caldjwcll

ani Buckredan, Presiden.t A'nn M. Caldwcl'\
Amerlist, Inc. 108 W. Willow li`]mvc Ave.
978 Route 45, Suite L?. Suil'e 300
P ona, New York 10970 Philad.elphia, PA 19118

' ' 215 248-2030

&// MOL»-/\ ( )
efendants Pro Sc Counsel for Pln`l ntiff T. Peter
Tague DC

EXHI,B.[T “A" TO SETTLEMENT AGREEME]'*JT

